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1
                                UNITED STATES DISTRICT COURT
2

3                         SOUTHERN DISTRICT OF CALIFORNIA
4
                         (HONORABLE JANIS L. SAMMARTINO)
5

6    UNITED STATES OF AMERICA,                   Case No.21CR3352
7                  Plaintiff,
8                                                ORDER
        v.
9

10   DENNY BHAKTA,
11
                   Defendant.
12

13

14           Pursuant to joint motion, IT IS HEREBY ORDERED that the Motion
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     Hearing/Trial Setting currently scheduled for January 21, 2022, at 1:30 p.m., be
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     rescheduled to March 18, 2022, at 1:30 p.m.
17
             For reasons stated in the joint motion incorporated by reference herein, the
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     court finds the ends of justice served by granting the requested continuance
19
     outweigh the best interest of the public and the defendant in a speedy trial.
20
             IT IS FURTHER ORDERED that the period of delay from the filing of the
21
     joint motion until March 18, 2022, shall be excluded in computing the time within
22
     which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161.
23
           SO ORDERED.
24
     Dated: January 4, 2022
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